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                                                            MOSER LAW FIRM, PC
Steven J. Moser
Tel: 631-824-0200
steven.moser@moserlawfirm.com



                                                     April 5, 2022

VIA ECF

Hon. Denis R. Hurley, USDJ
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11717

       Re:     Villatoro v. Ridge Restaurant, Inc., et al., 16-cv-00254(DRH)(ARL)

Dear Judge Hurley:

        The Plaintiff’s claims for compensatory damages in the above referenced matter were
settled with the Court’s approval on May 26, 2021 for the sum of $7,000.00. Pursuant to that
agreement, the Plaintiff filed a separate motion for attorneys’ fees and costs, which was referred
to Magistrate Judge Lindsay for a report and recommendation.

        As of the date of this letter, payment has not yet been made to the Plaintiff. We
respectfully request that Defendants be directed to pay the agreed upon compensatory damages
to the Plaintiff within 14 days.

                                                     Very truly yours,

                                                     Steven J. Moser
                                                     Steven J. Moser

CC:    All counsel of record via ECF




                               5 E. Main St., Huntington, NY 11743
                               www.moseremploymentlaw.com
